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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            Case No. 16-20549-CR-SCOLA/OTAZO-REYES

   UNITED STATES OF AMERICA,

   vs.

   PHILIP ESFORMES, et al.,

           Defendants.
                                                   /

   AYINTOVA LLC and PIPESMOKERS
   ASSOCIATES LLC,

           Third Parties.

   ______________________________________/

          ORDER APPROVING MOTION TO APPROVE AND ENTER STIPULATION
         AUTHORIZING DISBURSEMENT OF CERTAIN FUNDS FROM THE SALE OF
         SOUTH DADE NURSING AND REHABILITATION CENTER (“SOUTH DADE”),
          GOLDEN GLADES NURSING AND REHABILITATION CENTER (“GOLDEN
          GLADES”) AND NORTH DADE NURSING AND REHABILITATION CENTER
                                (“NORTH DADE”)

           THIS CAUSE is before the Court upon the motion of the United States of America (the

   “United States”) for approval and entry of the Stipulation and Agreement between the United

   States, Ayintova LLC (“Ayintova”), Pipesmokers Associates LLC (“Pipesmokers”), Norman

   Ginsparg (“Ginsparg”), individually and as manager of Ayintova and Pipesmokers, Sheldon

   Neidich (“Neidich”), individually and as manager of Ayintova, and the defendant, Philip Esformes

   (“Esformes”), individually, as grantor and trustee of the Philip Esformes Revocable Trust

   Agreement of September 26, 2000 (“Esformes Trust”), and as equity holder of Ayintova and

   Pipesmokers. Being fully advised in the premises and based on the United States’s motion and

   record in this matter, it is hereby ordered and adjudged as follows:


                                                  1
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   1.     The United States’s Motion to Approve and Enter Stipulation and Agreement Regarding

   Disbursement of Certain Funds From the Sale of South Dade Nursing and Rehabilitation Center,

   Golden Glades Nursing and Rehabilitation Center and North Dade Nursing and Rehabilitation

   Center (ECF No. 1440) is granted.

   2.     The Stipulation and Settlement Agreement entered between the United States and

   Ayintova, Pipesmokers, Neidich, Ginsparg, Defendant Esformes, and Esformes Trust (ECF No.

   1440-1) is approved.

   3.     At the closing of the sale of South Dade, Golden Glades, and North Dade, the designated

   settlement and closing agent for SentosaCare is directed to disburse funds to Neidich and Ginsparg

   for their equity percentages in Ayintova and Pipesmokers from the proceeds of the sale.

   4.     Any and all proceeds due to Esformes (individually or through his sub-member company

   or trust) shall be delivered via bank check made payable to the United States Marshals office and

   hand-delivered to the United States Attorney’s office, 500 East Broward Boulevard, Suite 812,

   Fort Lauderdale, FL 33394, Attn: AUSA Daren Grove, which shall remain in escrow until further

   order from the Court.

   5.     The Court will retain jurisdiction over this matter.

          DONE AND ORDERED in chambers, in Miami, Florida, on November 4, 2019.



                                                        ______________________________
                                                        Robert N. Scola, Jr.
                                                        United States District Judge




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